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                             UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF FLORIDA
                               WEST PALM BEACH DIVISION

                          CASE NO. 23-80101-CR-CANNON-REINHART

    UNITED STATES OF AMERICA,
                           Plaintiff,
                    v.

    DONALD J. TRUMP, et al.,
                           Defendants.

          ORDER GRANTING MOTION OF FORMER ATTORNEYS GENERAL
         EDWIN MEESE III AND MICHAEL B. MUKASEY, LAW PROFESSORS
          STEVEN CALABRESI AND GARY LAWSON, AND CITIZENS UNITED
      AS AMICI CURIAE TO PARTICIPATE IN ORAL ARGUMENT IN SUPPORT OF
       DEFENDANT PRESIDENT TRUMP’S MOTION TO DISMISS [ECF NO. 326]

           THIS CAUSE having come before the Court on the Motion for Leave to Participate in Oral

   Argument by Former Attorneys General Edwin Meese III and Michael B. Mukasey, Law

   Professors Steven Calabresi and Gary Lawson, Citizens United, and Citizens United Foundation

   as Amici Curiae in Support of Defendant President Trump’s Motion to Dismiss [ECF No. 326]

   (the “Motion”), it is hereby:

           ORDERED AND ADJUDGED that:

           The Motion is GRANTED. Counsel for Former Attorneys General Edwin Meese III and

   Michael B. Mukasey, Law Professors Steven Calabresi and Gary Lawson, Citizens United, and

   Citizens United Foundation as Amici Curiae may participate in the June 21, 2024 hearing on

   Defendant President Trump’s Motion to Dismiss.

           DONE AND ORDERED in Chambers at ____________, Florida, this day of ________,
   2024.

                                                  ___________________________
                                                  AILEEN M. CANNON
                                                  UNITED STATES DISTRICT JUDGE
